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 1
     Jonathan A. Stieglitz, Esq.
 2   (SBN 278028)
 3   THE LAW OFFICES OF
     JONATHAN A. STIEGLITZ
 4
     11845 W. Olympic Blvd., Ste. 800
 5   Los Angeles, California 90064
 6
     Tel: (323) 979-2063
     Fax: (323) 488-6748
 7   Email: jonathan.a.stieglitz@gmail.com
 8   Attorney for Plaintiff
 9
     Yitzchak Zelman, Esq.
10   MARCUS & ZELMAN, LLC
     1500 Allaire Avenue, Suite 101
11
     Ocean, New Jersey 07712
12   Tel: (732) 695-3282
13   Fax: (732) 298-6256
     Email: Yzelman@marcuszelman.com
14   Attorney for Plaintiff
15   Pro Hac Vice Admission Pending
16
                   IN THE UNITED STATES DISTRICT COURT
17               FOR THE EASTERN DISTRICT OF CALIFORNIA
18                         SACRAMENTO DIVISION

19
20   N.L., an infant by his mother and          Civil Case No.: 2:17-at-00720
     natural guardian SANDRA LEMOS,
21
22                         Plaintiff,                CIVIL ACTION
23
     -against-                                  AMENDED COMPLAINT
24                                                       and
25                                               JURY TRIAL DEMAND
     CREDIT ONE BANK, N.A. and
26
     JOHN DOES 1-25,
27
                           Defendants
28




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 1         Plaintiffs N.L., an infant by his mother and natural guardian SANDRA
 2   LEMOS (“Plaintiff”), by and through their attorneys, Marcus & Zelman, LLC,
 3
     brings this Complaint against the Defendant CREDIT ONE BANK, N.A. and
 4
 5   JOHN DOES 1-25 (hereinafter referred to as “Defendant”), and respectfully sets
 6
     forth, complains and alleges, upon information and belief, the following:
 7
 8                INTRODUCTION/PRELIMINARY STATEMENT
 9
        1. Plaintiff N.L. is an eleven-year-old child who has inexplicably become the
10
           target of incessant and relentless collection calls made by Credit One Bank
11
12         and the dialing vendors it employs. As Plaintiff is a minor, he appears in this
13
           action by and through his mother and natural guardian Sandra Lemos,
14
15         seeking damages and declaratory and injunctive relief arising from the
16
           Defendant’s violations under Title 47 of the United States Code, §227
17
18         commonly known as the Telephone Consumer Protection Act (TCPA).

19      2. Plaintiffs further seek damages as a result of the Defendant’s invasion of his
20
           privacy and right to seclusion, as well as damages pursuant to the Rosenthal
21
22         Fair Debt Collection Practices Act, codified at Cal. Civ. Code § 1788 et seq.
23
        3. The TCPA prohibits auto-dialed calls which are placed to a called party’s
24
25         cellular phone without that party’s consent. Senator Hollings, the TCPA's
26         sponsor, described these auto-dialed calls as “the scourge of modern
27
           civilization. They wake us up in the morning; they interrupt our dinner at
28




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 1      night; they force the sick and elderly out of bed; they hound us until we want
 2      to rip the telephone out of the wall.” Osorio v. State Farm Bank, F.S.B., 746
 3
        F.3d 1242, 1255-56 (11th Cir. 2014), citing, 137 Cong. Rec. 30,821 (1991).
 4
 5   4. In 1991, Congress responded to these abuses by passing the TCPA. In
 6
        enacting the TCPA, Congress made findings that telemarketing had become
 7
 8      “pervasive due to the increased use of cost-effective telemarketing
 9
        techniques.” See, PL 102-243, § 2(1). “Residential telephone subscribers
10
        consider automated or prerecorded telephone calls, regardless of the content
11
12      or the initiator of the message, to be a nuisance and an invasion of privacy.”
13
        Id. § 2(10). The TCPA’s findings also reflect Congress’s conclusion that
14
15      “[i]individuals’ privacy rights, public safety interests, and commercial
16
        freedoms of speech and trade must be balanced in a way that protects the
17
18      privacy of individuals and permits legitimate telemarketing practices.” Id. §

19      2(9). Consumers who receive these unauthorized calls thus have suffered a
20
        distinct privacy-related interest, namely the “intentional intru[sion] . . . upon
21
22      their solitude or seclusion of their private affairs or concerns.” Intrusion
23
        Upon Seclusion, Restatement (Second) of Torts § 652B (1977).
24
25
                                       PARTIES
26
27   5. Plaintiff N.L. is a minor who resides in Placer County, California.
28   6. Plaintiff Sandra Lemos is the mother and natural guardian of Plaintiff N.L.,



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 1      who also resides in Placer County, California.
 2   7. Defendant is a national banking association with its corporate headquarters
 3
        located at 585 Pilot Road, Las Vegas, Nevada 89119.
 4
 5   8. JOHN DOES 1-25 is a fictitious name, meant to represent those calling and
 6
        dialing vendors utilized by Defendant to place the actual calls to Plaintiff’s
 7
 8      cellular phone on Defendant’s behalf, whom Plaintiff will name once their
 9
        identities are uncovered.
10
                          JURISDICTION AND VENUE
11
12   9. The Court has jurisdiction over this matter pursuant to 28 USC §1331.
13
     10.Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
14
15                          ALLEGATIONS OF FACTS
16
     11.Plaintiff repeats, reiterates and incorporates the allegations contained in the
17
18      preceding paragraphs with the same force and effect as if the same were set

19      forth at length herein.
20
     12.On information and belief, on a date better known to the Defendant,
21
22      Defendant began its campaign of communicating with the minor Plaintiff via
23
        the use of an automated telephone dialing system and prerecorded messages
24
25      throughout the past four years by calling the Plaintiff’s cellular telephone
26      phone number of (xxx) xxx-9847 on dozens of occasions.
27
     13.Plaintiff is the customary and sole user of the cellular phone number (xxx)
28




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 1      xxx-9847.
 2   14.The Defendant called from numerous phone numbers, including but not
 3
        limited to (916)461-5127, and (916)461-5128.
 4
 5   15.Plaintiff confirmed that these phone numbers belong to Defendant by calling
 6
        these numbers and being connected with an automated voice stating “Thank
 7
 8      you for calling Credit One Bank.”
 9
     16.Defendant specifically used an automated telephone dialing system to call
10
        the Plaintiff on his cell phone six times each on February 23 and February
11
12      28, 2017, amongst numerous other dates.
13
     17.Defendant’s use of an automated telephone dialing system was clearly
14
15      indicated by (1) the usage and placement of prerecorded messages (2) the
16
        placement of six or more calls to the Plaintiff per day, (3) hold music playing
17
18      when the Plaintiff would answer the phone, and (4) the telltale clicks and

19      pauses before a human voice would come on the line when the Plaintiff
20
        would answer the phone.
21
22   18.The Plaintiff never gave the Defendant his prior, express permission to call
23
        his cell phone via the use of an automated telephone dialing system or
24
25      prerecorded voice.
26   19.The eleven-year-old Plaintiff has never had a business relationship with the
27
        Defendant and has never provided the Defendant with his phone number.
28




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 1   20.Plaintiff had no wish to be contacted on his cell phone via the use of an
 2      autodialer or prerecorded voice, and expressly directed Defendant to stop
 3
        calling his cell phone number on numerous occasions.
 4
 5   21.On February 21, 2017, the minor Plaintiff spoke with a male customer
 6
        service representative of the Defendant.
 7
 8   22.On February 21, 2017, the Plaintiff specifically advised the Defendant that
 9
        he was a kid, they were calling the wrong party, that he had no account with
10
        Credit One Bank, and that the Defendant should cease calling him.
11
12   23.The Defendant completely ignored Plaintiff’s pleas to stop calling his
13
        cellular phone and continued to place dozens of prerecorded voice messages
14
15      and calls to the Plaintiff’s cellular phone via the use of an automated
16
        telephone dialing system.
17
18   24.By placing auto-dialed calls to the Plaintiff’s cell phone, the Defendant

19      violated 47 USC §227(b)(A)(iii) which prohibits using any automated
20
        telephone dialing system or an artificial prerecorded voice to any telephone
21
22      number assigned to a cellular telephone service.
23
     25.Plaintiff suffered actual damages because the Defendant’s calls to his cell
24
25      phone deprived him of the use of his cellular phone during the times that the
26      Defendant was calling his cellular phones, depleted battery life of the cellular
27
        telephone, and invaded on the Plaintiff’s right to privacy and seclusion,
28




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 1      which was the very harm that Congress sought to prevent by enacting the
 2      TCPA.
 3
     26.The Defendant’s repeated calls further caused the Plaintiff to be harassed,
 4
 5      stressed, frustrated and annoyed. The Defendant’s repeated calls interrupted
 6
        the Plaintiff’s day and wasted the Plaintiff’s time spent answering and
 7
 8      otherwise addressing these repeated phone calls.
 9
     27.Defendant’s communication efforts attempted and/or directed towards the
10
        Plaintiff violated various provisions of the TCPA, including but not limited
11
12      to 47 USC §227(b)(A)(iii).
13
     28.As a result of Defendant’s violations of the TCPA, Plaintiff has been
14
15      damaged and is entitled to damages in accordance with the TCPA.
16
                           FIRST CAUSE OF ACTION
17
18                           (Violations Of The TCPA)

19   29.Plaintiff repeats and incorporates by reference all of the above paragraphs of
20
        the Complaint as though fully stated herein.
21
22   30.The foregoing acts and omissions of Defendants constitute numerous and
23
        multiple negligent violations of the TCPA, including but not limited to each
24
25      and every one of the above cited provisions of 47 U.S.C. § 227(b) et seq.
26   31.As a result of Defendant’s violations of 47 U.S.C. § 227(b) et seq. Plaintiff
27
        is entitled to an award of $500.00 for each and every negligent violation of
28




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 1      the TCPA pursuant to 47 U.S.C. § 227(b)3.
 2   32. As a result of Defendant’s violations of 47 U.S.C. § 227(b) et seq. Plaintiff
 3
        is also entitled to an award of treble damages $1,500.00 for each and every
 4
 5      knowing and/or willful violation of the TCPA pursuant to 47 U.S.C. §
 6
        227(b)3.
 7
 8                        SECOND CAUSE OF ACTION
 9
        (Violations Of The Rosenthal Fair Debt Collection Practices Act)
10
11
     33.Plaintiff repeats, reiterates and incorporates the allegations contained in
12
13      paragraphs above herein with the same force and effect as if the same were
14      set forth at length herein.
15
     34.Cal. Civ. Code §1788.17 mandates that every person or entity collecting or
16
17      attempting to collect a consumer debt shall comply with the provisions of
18
        Sections 1692b to 1692j, inclusive, of, and shall be subject to the remedies
19
20      in Section 1692k of, Title 15 of the United States Code statutory regulations
21
        contained within the FDCPA, 15 U.S.C. § 1692 et seq.
22
23
     35.Pursuant to 15 USC §1692c, a debt collector may not communicate with a

24      third party in connection with the collection of a debt owed by a consumer,
25
        with a limited exception for calls made to obtain or confirm location
26
27      information, which exception is governed by 15 USC §1692b.
28
     36.Pursuant to 15 USC §1692b(3), any debt collector communicating with any


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 1      person other than the consumer for the purpose of acquiring location
 2      information about the consumer shall not communicate with any such person
 3
        more than once unless requested to do so by such person or unless the debt
 4
 5      collector reasonably believes that the earlier response of such person is
 6
        erroneous or incomplete and that such person now has correct or complete
 7
 8      location information.
 9
     37.Thus, under 15 USC §1692b(3) and 15 USC §1692c, the Defendant was only
10
        allowed to communicate with the Plaintiff once, and solely in order to obtain
11
12      location information regarding the debtor it was attempting to reach.
13
     38.Instead, the Defendant placed dozens of calls to the Plaintiff in an attempt to
14
15      reach an unrelated debtor, all after the Plaintiff clearly and expressly advised
16
        the Defendant that he was not that person, in direct violation of the FDCPA
17
18      and RFDCPA.

19   39.Pursuant to 15 USC §1692d(5), a debt collector is prohibited from causing a
20
        telephone to ring or engaging any person in telephone conversation
21
22      repeatedly or continuously with intent to annoy, abuse, or harass any person
23
        at the called number.
24
25   40.Cal. Civ. Code §1788.11(d) similarly prohibits debt collectors from causing
26      a telephone to ring repeatedly or continuously to annoy the person called.
27
     41.Cal. Civ. Code §1788.11(e) further prohibits debt collector from
28




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 1      communicating, by telephone or in person, with the debtor with such
 2      frequency as to be unreasonable and to constitute an harassment to the debtor
 3
        under the circumstances.
 4
 5   42.Defendant’s actions violated the foregoing provisions of the FDCPA and
 6
        RFDCPA by placing over 85 calls to the minor Plaintiff in a one-month
 7
 8      period of time, at a rate of six or more calls per day – and up to nine calls in
 9
        one day - all in an attempt to collect a debt from an unrelated person. For
10
        example, on March 13, 2017, the Defendant called the minor Plaintiff nine
11
12      times in less than seven hours, and three times in less than forty minutes.
13
     43.Defendant’s actions, listed above, violated the RFDCPA and FDCPA, and
14
15      were done knowingly and willfully, all after the Plaintiff specifically advised
16
        the Defendant that he was a kid and not the debtor that the Defendant was
17
18      seeking.

19   44.As a direct and proximate result of Defendant’s violations of the RFDCPA
20
        and FDCPA, Plaintiff was harmed, and may recover from Defendant one
21
22      thousand dollars ($1,000.00) in statutory damages in addition to actual
23
        damages and reasonable attorneys’ fees and costs pursuant to Cal. Civ. Code
24
25      § 1788.30.
26
27
                             THIRD CAUSE OF ACTION
28




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 1                (Invasion Of Privacy By Intrusion Upon Seclusion)
 2   45.Plaintiff repeats, reiterates and incorporates the allegations contained in
 3
        paragraphs above herein with the same force and effect as if the same were
 4
 5      set forth at length herein.
 6
     46.Defendant invaded the minor Plaintiff’s privacy and intruded upon his right
 7
 8      to seclusion, by placing an obscene amount of phone calls to the minor
 9
        Plaintiff’s cellular phone, all in an attempt to collect a debt from an unrelated
10
        debtor.
11
12   47.Plaintiff has a reasonable expectation of privacy on his cellular phone, and
13
        to be left alone and not harassed by a credit card company mindlessly
14
15      attempting to cow some unknown party into paying their debt.
16
     48.As an eleven-year-old child, the Plaintiff should not have to be subjected to
17
18      the Defendant’s reprehensible collection tactics, particularly when he has

19      zero relationship with Defendant.
20
     49.The Defendant’s actions are highly offensive to any reasonable person: to
21
22      repeat, the Defendant harassed a young child on his cellular phone with up
23
        to nine calls per day, and over 85 calls in a one-month period – all after the
24
25      Plaintiff advised the Defendant that he was just a kid, that Defendant was
26      calling the wrong person, and to stop calling him.
27
     50.As a result of the Defendant’s unreasonable conduct, the Defendant violated
28




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 1         the Plaintiff’s right to seclusion and invaded on his privacy. See e.g.,
 2         Varnado v. Midland Funding LLC, 43 F. Supp. 3d 985, 992 (N.D. Cal.
 3
           2014)(finding that “repeated and continuous calls in an attempt to collect a
 4
 5         debt give rise to a claim for intrusion upon seclusion” and denying motion
 6
           to dismiss where collection agency called debtor “3 to 5 times a day for two
 7
 8         months totaling approximately 185 to 300 times, despite Plaintiff's repeated
 9
           requests for the calls to stop”).
10
        51.As a result of the Defendant’s actions, the Plaintiff has been harmed, and is
11
12         entitled to damages, in an amount to be determined at trial.
13
                             DEMAND FOR TRIAL BY JURY
14
15      52.Plaintiff hereby respectfully requests a trial by jury for all claims and issues
16
           in its Complaint to which it is or may be entitled to a jury trial.
17
18                                PRAYER FOR RELIEF

19         WHEREFORE, Plaintiff respectfully prays that judgment be entered
20
     against the Defendants as follows:
21
22                 A. For mandatory statutory damages of $500 each provided and
23
        pursuant to 47 USC §227(c)(2)(G)(3)(B), for all calls placed to the Plaintiff’s
24
25      cellular phone;
26                B.      Plaintiff requests enhanced trebled damages of $1,500 to be
27
     awarded to the Plaintiff per call, in accordance with the TCPA, for the Defendant’s
28




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 1   willful violations of the TCPA;
 2                C.    Plaintiff requests actual and statutory damages, along with
 3
     attorneys’ fees and costs, for the Defendant’s violations of the RFDCPA and
 4
 5   FDCPA.
 6
                  D.    Plaintiff requests actual and punitive damages for the
 7
 8   Defendant’s invasion of his privacy and violation of his right to seclusion.
 9
                  E.    For any such other and further relief, as well as further costs,
10
     expenses and disbursements of this action, as this Court may deem just and proper.
11
12   Dated: July 19, 2017
13                                     /s/ Jonathan A. Stieglitz
                                       JONATHAN A. STIEGLITZ
14                                     (SBN 278028)
15                                     jonathan.a.stieglitz@gmail.com
                                       THE LAW OFFICES OF
16
                                       JONATHAN A. STIEGLITZ
17                                     11845 W. Olympic Blvd., Ste. 800
18                                     Los Angeles, California 90064
                                       Telephone: (323) 979-2063
19                                     Facsimile: (323) 488-6748
20
                                       Yitzchak Zelman, Esq.,
21
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23
                                       1500 Allaire Avenue, Suite 101
                                       Ocean, New Jersey 07712
24                                     Phone: (732) 695-3282
25                                     Facsimile: (732) 298-6256
                                       Email: yzelman@marcuszelman.com
26                                     Attorneys for Plaintiff
27
28




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